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             Exhibit ‘G’
           Case
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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

SANDRA GUERRA,                )
                              )
     Plaintiff,               )
                              )
V.                            )                             CIVIL ACTION NO. SA-21-CA-882-FB
                              )
HUMANA, and HUMANA GOVERNMENT )
BUSINESS, INC. d/b/a Humana,  )
                              )
     Defendants.              )

                ORDER OF DISMISSAL WITH PREJUDICE AND JUDGMENT

         Before the Court is the Joint Stipulation of Dismissal With Prejudice (docket no. 11), filed by

the parties on December 7, 2021. The parties stipulate pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii) that the above captioned case is dismissed with prejudice, with each party to bear their

own respective costs, expenses, and attorneys’ fees.         Although a dismissal pursuant to Rule

41(a)(1)(A)(ii) allows the plaintiff to dismiss an action voluntarily without a court order when the

stipulation is signed by all parties who have appeared, the parties have requested an order from this

Court.

         Accordingly, IT IS HEREBY ORDERED, ADJUDGED and DECREED that, pursuant to the Joint

Stipulation of Dismissal With Prejudice (docket no. 11) signed by the parties and Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), all claims and causes of action asserted by plaintiff against defendants are

DISMISSED WITH PREJUDICE, with each party to bear their own respective costs, expenses, and

attorneys’ fees.
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       IT IS FURTHER ORDERED, ADJUDGED and DECREED that motions pending with the

Court, if any, are Dismissed as Moot and this case is CLOSED.

       It is so ORDERED.

       SIGNED this 8th day of December, 2021.


                                      _________________________________________________
                                     FRED BIERY
                                     UNITED STATES DISTRICT JUDGE




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